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                         IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                                ) No. 1:19-cr-00009-TMB-MMS
                                                           )
                             Plaintiff,                    )
                                                           )
           vs.                                             )
                                                           )
  RODERICK LEE C. AYERS III.,                              )
                                                           )
                             Defendant.                    )
                                                           )

                    UNITED STATES SENTENCING MEMORANDUM

                 SUMMARY OF SENTENCING RECOMMENDATIONS

TERM OF IMPRISONMENT ......................................................................... 96 months

SUPERVISED RELEASE ...................................................................................... 5 years

SPECIAL ASSESSMENT ..................................................................................... $100.00




      Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 1 of 11
       The United States Probation Office (USPO) has prepared a presentence

investigation report (PSR) in this case. The United States agrees with the factual and

legal findings of the USPO.

I.     BACKGROUND

       A.     Investigation and Arrest 1

       On December 21, 2017, a U.S. Postal Inspector identified a suspicious parcel

addressed from Conner Ayers in Washington to the defendant, RODERICK LEE C.

AYERS III to a P.O. Box address located in Auke Bay, Alaska. The parcel contained

123.5 grams of heroin.

       On February 5, 2018, Juneau Police Department received a tip that AYERS had

sent a pallet of tires. A shipping company representative informed law enforcement that

an individual, who was known to law enforcement as a drug addict, inquired about the

pallet of tires before it had been offloaded from the barge. The representative also

identified the named individual whom AYERS had addressed the tires to, was also

known as a drug addict and the paramour of the person inquiring about the tires.

       On February 6, 2018, Juneau Police arrived at the barge company and saw a

cardboard box contained within the tires. A drug detection K-9 alerted to scent of a

controlled substance. A search warrant was subsequently obtained, which revealed 326.2

grams of actual methamphetamine located inside the box within the pallet of tires. A



       1
        The facts set forth herein are a summary of facts previously provided in the
defendant=s plea agreement, PSR, and police reports.

U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                        2

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 2 of 11
short time later, the individual who earlier inquired about the pallet of tires came into the

shipping company and was speaking with an employee when police attempted to contact

the individual. The individual fled the scene and discarded 102 grams of heroin in a

garbage can in the bathroom and a search of the individual’s vehicle a loaded Kimber .45

pistol, an MK22 rifle, and a Glock Pistol and drug paraphernalia.

       On February 7, 2018, two confidential informants (CIs) met with law enforcement

and admitted they worked for AYERS and had purchased drugs from AYERS in the past

where the CIs sent female couriers to Seattle mule drugs back to Juneau. The CIs paid

for the drugs in various ways, such as using drug mules to transport money, sending pre-

paid debit cards, depositing money into AYERS bank account.

       On February 18, 2018, a CI exchanged multiple texts with AYERS and sent

$1,800 via Western Union to purchase one ounce of heroin. On February 22, 2018 a

package sent by AYERS was intercepted at the Juneau Post Office, which contained

24.18 grams of heroin.

II.    GUIDELINE APPLICATIONS

       A.     Offense Level

              1.     Base level offense

       The USPO, based on the total amount of narcotics seized, found the defendant to

be a base level 32. The United States agrees with the above calculation by the USPO.

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U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                         3

      Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 3 of 11
               2.     Criminal history category

        The USPO has calculated the defendant=s criminal history to be category III. The

government agrees with this calculation.

        B.     Acceptance of Responsibility

        U.S.S.G. ' 3E1.1 allows for up to a three-point decrease to the defendant=s

criminal offense level for acceptance of responsibility. The defendant pled guilty and

agreed to the facts which constitute the essential elements in the single count

Indictment. Therefore, the government recommends the three-point decrease for the

defendant=s criminal offense level for acceptance of responsibility.

        C.     Total Offense Level

        With a three-point reduction for acceptance of responsibility, AYERS= adjusted

total offense level on the drug charge is 29 with a criminal history category III, thus, his

guideline range is 108 to 135 months.

III.    WITNESSES

        The government does not intend to call any witnesses.

IV.     APPLICATION OF 18 U.S.C. ' 3553(a)

        The crime itself and the history of the defendant are facts the Court must consider

when fashioning an appropriate sentence for the defendant.      An application of the

factors set forth in 18 U.S.C. ' 3553(a) supports the imposition of the parties agreed upon

sentence of 96 months of incarceration.

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U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                         4

       Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 4 of 11
       A.     The nature and circumstances of the offense.

       The defendant distributed methamphetamine and heroin from at least December

21, 2017 to February 22, 2018, however, given the information given by the CIs it was

likely much longer. The defendant attempted to distribute nearly ¾ pound of pure

methamphetamine and nearly 1/3 of a pound of heroin into Juneau, which has been

ravaged by effects of drugs throughout the city and its residents. The court is well aware

of the direct damage to the community by this type of behavior in this small Southeast

community. This offense’s effect on those who are addicts and end up before the court

facing loss of their liberty and the serious medical effects as a result of that drug use that

occur to those using those drugs. However, there is a direct effect to other citizens in the

community, because these offenses increase local property crimes that drug addicts

commit to feed their addictions, which the court has seen first-hand in its court (see

United States v. Drury, 1:17-cr-00006-TMB). There is clearly a direct correlation to the

commission of drug trafficking offenses and a potential violent outcome against an

innocent citizen. Most citizens have no skin in the game of drug trafficking. Drug

trafficking clearly has far reaching effects on the community beyond that of the local

drug dealer and user.

       Then defendant is responsible for nearly 3/4 of a pound of pure methamphetamine

and nearly 1/3 pound of heroin. At the current market of .2 for methamphetamine and .1

for heroin, there is approximately 1,631 and 1,478 dosage units, respectively. That is

nearly enough drugs to supply nearly 1/3 of the student population of Juneau School


U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                          5

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 5 of 11
District, which is approximately 4,600, with methamphetamine and heroin. The effect of

this offense cannot be understated.

       B.     The history and characteristics of the defendant.

       The defendant has a history of substance abuse, starting at the age of 12 to 20

years old he used marijuana, at the age of 17 to 22 used alcohol to excess, and at 17

started using methamphetamine at least five times per day and has used

methamphetamine five times a day until April 7, 2019, when he started to use heroin

daily from the age of 21 until April 7, 2019. It appears that AYERS has a significant drug

problem; however, according to what the defendant has reported he ceased all drug use

on April 7, 2019, when he was arrested on a Washington State charge. AYERS’ use of

drugs does not excuse his behavior, as he was willing to assist in the distribution of a

highly addictive and destructive drug in Southeast community of Juneau that has suffered

at the hands of drug trafficking for years. The fact that he is a drug addict, is a condition

that will follow him for the rest of his life and treatment for his drug use is appropriate for

defendant, as well as, mental health treatment, so he does not fall back into criminal

behavior after his eventual release from prison. The defendant’s drug trafficking activities

were not solely fueled by his addiction, however, the financial rewards associated with it.

The defendant was trafficking large amounts of methamphetamine and other drugs. It is

clear, drugs in the Lower 48 are cheaper and the prices in Alaska are exponentially higher

in Alaska than anywhere else in the Lower 48. The financial aspect of the offense cannot

be overlooked.


U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                         6

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 6 of 11
       The defendant would benefit from a 500-hour residential treatment program and

any sentence the court gives the defendant must require this as part of his sentence if

there is any chance of AYERS completing supervised release successfully.

       C.     The seriousness of the offense.

       This was a very serious offense, AYERS distributed methamphetamine and heroin

in a small Southeast community that has had suffered the huge influx of

methamphetamine and heroin and its damaging effects on the community. Illicit narcotics

are a cancer and many Southeast communities have suffered at the hands of this epidemic

for years. The effect on the communities such as Juneau has been devastating. The death

from overdoses, to the creation of new addicts, and the violent and property crimes they

commit to support their newfound drug addictions puts the community of Juneau at

significant risk. This is not a victimless crime. The community as a whole suffers.

       Between 2008 and 2010, the Alaska Department of Health and Social Services

documented 1.4 methamphetamine related deaths per 100,000 people, on average 10

Alaskans died from methamphetamine overdoses during that time-period.         Now, less

than ten years later, those numbers of overdose deaths from methamphetamine have

increased fourfold.   From 2014 to 2016, the death rate has climbed to 5.8 deaths per

100,000 people, on average 42 deaths during that time-period.     In addition, the rate of

hospital care for those poisoned by amphetamines (including methamphetamine)

increased by 40%.     According to the Center for Disease Control between 2005 and

2015, fatal overdoses due to stimulants has gone up over 300%, the vast majority of those


U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                        7

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 7 of 11
deaths are attributed to methamphetamine.     These statistics track the Court’s own

observations about the increasing frequency of pure methamphetamine in the community.

       This is actual evidence that as the purity of methamphetamine increased, the

danger for its users has also increased.

       Moreover, to highlight the overall seriousness of the drug problem for Alaskans, a

September 6, 2018, a Juneau Empire article it cites that methamphetamine seizures in

Alaska has increased four-fold in the last several years from 5,434 grams in 2016 to

24,909 in 2017. In Juneau, in one year, methamphetamine seizures have increased from

1,234 grams in 2016 to 3,903 in 2017, a two-fold increase.    The court is correct, much

of the drug is now sold in its pure form and the only explanation for the increased

methamphetamine trafficking and seizures is the significant increase in addicts created

because pure methamphetamine is much more addictive than cut methamphetamine.

Unsuspecting children in the community are quickly becoming addicts when trying this

drug in its pure form are becoming new consumers of the drug, thereby increasing

demand and increased supply of drugs into the community.       There is hard evidence and

a clear and direct correlation to the number of deaths, which result from the increased

drug use of the more potent and highly pure methamphetamine sold by drug traffickers to

citizens in Alaska.

       The incredible risk to the community based on the outlined circumstances of the

offense require a lengthy prison sentence that adequately reflects the seriousness of this

offense.


U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                        8

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 8 of 11
       D.     The need to provide just punishment for the offense and to protect the
              public.

       AYERS= crime placed a significant portion of the Juneau’s population in

significant danger.   The community is sick and tired of being afraid of what drugs might

be supplied to their children and loved ones.       There has been a trail of wreckage caused

by the use of methamphetamine and heroin in the community, and it effects everyone, not

matter what social class a person comes from. As such, a sentence imposed by the court

must be significant in order to provide a just punishment for the extreme danger this

offense actually poses to the community and to protect the public from individuals like

the defendant.

       E.     To afford adequate deterrence to criminal conduct.

       A lengthy sentence of imprisonment is needed to deter this defendant and others

like him from engaging in this type of conduct in the future. There is specific deterrence

to the defendant when they are incarcerated, however, like AYERS’ past sentences of

minimal jail time have not deterred him from other criminal conduct. The penalty needs

to be significant enough to deter the defendant, but also others who may be similarly

inclined to engage in this illegal behavior. This has been proven by a study by the

U.S.S.G (https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2020/20200429_Recidivism-SentLength.pdf) which found that higher

sentences imposed on defendant had a direct correlation on the reduction of recidivism.

The study revealed the higher the sentences imposed, the less likely that a defendant

recidivated in the future. AYERS committed this offense mainly for financial motives.
U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                           9

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 9 of 11
The defendant is an out of state resident who distributed drugs in Alaska for another

“Gold Rush”, not seeking minerals and other precious metals, but rather the peddling of

poison to a local population for the sole financial benefit of the defendant. The defendant

will be deterred by a longer prison sentence because his will be isolated in prison for his

sentence.   The sentence needs to be severe enough in order outweigh the cost benefit

analysis of the spoils of drug trafficking and the penalty suffered for committing the

offense and prevent future recidivism and in turn protect the public. It is likely that there

will be general deterrence in this case, as well, which may give pause others those who

might engage in such behavior. Thereby giving a person the chance to weight the

potential personal cost over the financial reward they may receive from engaging in drug

trafficking. As such, the government submits that the agreed upon below the low-end

guideline sentence on 96 months is appropriate in this case.

       F.     To protect the public from further crimes of the defendant.

       The defendant needs a sentence that is sufficient to protect the public from future

crimes of the defendant. It is unlikely that the defendant is likely to change his behavior

in the future given his drug use and of ease of making money trafficking drugs. The fact

that the defendant not a youthful offender is a reason to impose a significant for the

defendant in this case. As stated earlier, the main reason the defendant engaged in this

criminal behavior was mainly financial and the defendant drug/abuse use is only one

aspect that may lead him astray in the future, but the lure of easy money is a thinking

error that needs correction in this case.   If not addressed, then the defendant will


U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                         10

    Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 10 of 11
continue to be inclined to commit these types of offenses again and continue to pose a

continuing danger to the public.     Thus, the agreed upon sentence of 96 months is

appropriate in this case.

V.     CONCLUSION

       The government respectfully requests the court accept the parties binding

agreement to impose a sentence of 96 months of incarceration and supervised release for

five years as sufficient in this case, as it satisfies the sentencing factors delineated

pursuant to 18 U.S.C. ' 3553.

       RESPECTFULLY SUBMITTED this 24th day of June, 2021 at Juneau, Alaska.

                                                    E. BRYAN WILSON
                                                    Acting United States Attorney

                                                    s/ Jack S. Schmidt
                                                    JACK S. SCHMIDT
                                                    Assistant United States Attorney



CERTIFICATE OF SERVICE
I hereby certify that on June 24, 2021 a true and correct
copy of the foregoing was served electronically on:

Julie Willoughby, Esq.

s/ Jack S. Schmidt
Office of the U.S. Attorney




U.S. vs. Ayers
1:19-cr-00009-TMB-MMS                          11

     Case 1:19-cr-00009-TMB-MMS Document 45 Filed 06/24/21 Page 11 of 11
